  Case: 1:17-md-02804-DAP Doc #: 1355 Filed: 02/11/19 1 of 3. PageID #: 38027




                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                     MDL No. 2804
 OPIATE LITIGATION

                                                 Case No. 17-md-2804

 This document relates to:                       Judge Dan Aaron Polster


 The County of Cuyahoga, Ohio et al. v.
 Purdue Pharma L.P., et al.
 Case No. 17-OP-45004 (N.D. Ohio)


 The County of Summit, Ohio, et al. v. Purdue
 Pharma L.P., et al.
 Case No. 18-OP-45090 (N.D. Ohio)


 City of Cleveland, Ohio v. Purdue Pharma
 L.P., et al.
 Case No. 18-OP-45132 (N.D. Ohio)




                         NOTICE OF SERVICE OF SUBPOENAS

       PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that Defendants

Purdue Pharma L.P., Purdue Pharma Inc., and The Purdue Frederick Company Inc. (“Purdue”), by

and through undersigned counsel, will cause the following subpoenas to be served on Dr. Kendrick

Bashor, 150 Cross Street, Akron, OH 44311; Dr. Michael Hughes, 1835 Franks Pkwy, Uniontown,

OH 44685; Dr. Michael Louwers, 1560 Corporate Woods Pkwy, Uniontown, OH 44685; and Dr.

Laura L. Novak, Summa Health, 155 5th St NE, Barberton, OH 44203:

       Attachment 1: Subpoena to Produce Documents, Information, or Objects or to Permit

                      Inspection of Premises in a Civil Action to Dr. Kendrick Bashor

       Attachment 2: Subpoena to Testify at a Deposition in a Civil Action to Dr. Kendrick
  Case: 1:17-md-02804-DAP Doc #: 1355 Filed: 02/11/19 2 of 3. PageID #: 38028




                     Bashor

       Attachment 3: Subpoena to Produce Documents, Information, or Objects or to Permit

                     Inspection of Premises in a Civil Action to Dr. Michael Hughes

       Attachment 4: Subpoena to Testify at a Deposition in a Civil Action to Dr. Michael Hughes

       Attachment 5: Subpoena to Produce Documents, Information, or Objects or to Permit

                     Inspection of Premises in a Civil Action to Dr. Michael Louwers

       Attachment 6: Subpoena to Testify at a Deposition in a Civil Action to Dr. Michael

                     Louwers

       Attachment 7: Subpoena to Produce Documents, Information, or Objects or to Permit

                     Inspection of Premises in a Civil Action to Dr. Laura Novak

       Attachment 6: Subpoena to Testify at a Deposition in a Civil Action to Dr. Laura Novak


Date: February 11, 2019                    Respectfully submitted,

                                           /s/ Victor A. Walton Jr.
                                            Victor A. Walton Jr.
                                            Vorys, Sater, Seymour and Pease LLP
                                            301 E. Fourth Street
                                            Suite 3500
                                            Cincinnati, OH 45202
                                            Tel: (513) 723-4000
                                            vawalton@vorys.com

                                            Counsel for Defendants Purdue Pharma L.P.,
                                            Purdue Pharma Inc., and The Purdue Frederick
                                            Company Inc.
  Case: 1:17-md-02804-DAP Doc #: 1355 Filed: 02/11/19 3 of 3. PageID #: 38029




                                  CERTIFICATE OF SERVICE

       Pursuant to the September 17, 2018 Order Concerning Service in Track One Cases (ECF

No. 983), I hereby certify that on February 11, 2019, I caused the foregoing document to be served

via    electronic    mail    on     the    email       addresses   maintained     by    plaintiffs

(mdl2804discovery@motleyrice.com)         and     defendants   (xALLDEFENDANTS-MDL2804-

Service@arnoldporter.com) for service of such documents.




                                                /s/ Victor A. Walton Jr.
                                                Victor A. Walton Jr.
                                                Vorys, Sater, Seymour and Pease LLP
                                                301 E. Fourth Street
                                                Suite 3500
                                                Cincinnati, OH 45202
                                                Tel: (513) 723-4000
                                                vawalton@vorys.com

                                                Counsel for Defendants Purdue Pharma L.P.,
                                                Purdue Pharma Inc., and The Purdue Frederick
                                                Company Inc.
